     Case 2:23-cr-00372-RGK   Document 45   Filed 09/22/23   Page 1 of 51 Page ID #:219



 1    E. MARTIN ESTRADA
      United States Attorney
 2    CAMERON L. SCHROEDER
      Assistant United States Attorney
 3    Chief, National Security Division
      ANNAMARTINE SALICK (Cal. Bar No. 309254)
 4    CHRISTINE M. RO (Cal Bar No. 285401)
      KATHRYNNE N. SEIDEN (Cal. Bar No. 310902)
 5    Assistant United States Attorneys
      Terrorism and Export Crimes Section
 6         1200 United States Courthouse
           312 North Spring Street
 7         Los Angeles, California 90012
           Telephone: (213) 894-2400
 8         Facsimile: (213) 894-0141
           E-mail:    annamartine.salick@usdoj.gov
 9                    christine.ro@usdoj.gov
                      kathrynne.seiden@usdoj.gov
10
      Attorneys for Plaintiff
11    UNITED STATES OF AMERICA

12                             UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14    UNITED STATES OF AMERICA,                 No. CR 23-372-RGK

15               Plaintiff,                     MEMORANDUM OF POINTS AND
                                                AUTHORITIES IN OPPOSITION TO
16                     v.                       DEFENDANT’S MOTION FOR
                                                REDETERMINATION OF CUSTODY STATUS
17    WENHENG ZHAO,                             PURSUANT TO 18 U.S.C. § 3142;
                                                DECLARATION OF KATHRYNNE N. SEIDEN
18               Defendant.

19

20

21          Plaintiff United States of America, by and through its counsel
22    of record, the United States Attorney for the Central District of
23    California and Assistant United States Attorneys Annamartine Salick,
24    Christine M. Ro, and Kathrynne N. Seiden, hereby submits its
25    Memorandum of Points and Authorities in Opposition to Defendant’s
26    Motion for Redetermination of Custody Status Pursuant to 18 U.S.C.
27    § 3142.
28    //
     Case 2:23-cr-00372-RGK   Document 45   Filed 09/22/23   Page 2 of 51 Page ID #:220



 1          This Opposition is based upon the files and records in this

 2    case, the Declaration of Kathrynne N. Seiden attached hereto, and

 3    such further evidence and argument as the Court may permit.

 4     Dated: September 22, 2023            Respectfully submitted,

 5                                          E. MARTIN ESTRADA
                                            United States Attorney
 6
                                            CAMERON L. SCHROEDER
 7                                          Assistant United States Attorney
                                            Chief, National Security Division
 8

 9                                                /s/
                                            ANNAMARTINE SALICK
10                                          CHRISTINE M. RO
                                            KATHRYNNE N. SEIDEN
11                                          Assistant United States Attorneys
12                                          Attorneys for Plaintiff
                                            UNITED STATES OF AMERICA
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               ii
     Case 2:23-cr-00372-RGK   Document 45   Filed 09/22/23   Page 3 of 51 Page ID #:221



 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.    INTRODUCTION

 3          Until his arrest, defendant was an experienced, active-duty Navy

 4    servicemember who held a Secret-level security clearance and received

 5    numerous trainings on detecting and reporting suspicious foreign

 6    contacts. Nonetheless, for more than two years, defendant routinely

 7    used sophisticated, encrypted methods to pass controlled unclassified

 8    information to a Chinese intelligence officer (“IO”) in exchange for,

 9    in defendant’s words, “easy money.” Having now been indicted for

10    bribery, defendant asks this Court to accept his claim that he is a

11    victim, trust him to comply with the conditions of pretrial release,

12    and reverse the Magistrate Judge’s ruling detaining him pending

13    trial. The Court should decline the invitation to gamble matters of

14    national security on the promise of someone who traded in that same

15    security for personal profit. No condition or combination of

16    conditions can reasonably assure the safety of the community or

17    defendant’s appearance as required, let alone both. Defendant’s

18    motion should be denied.

19    II.   THE MAGISTRATE JUDGE DETAINS DEFENDANT PENDING TRIAL

20          Following a 1.5-hour-long hearing in front of the Honorable

21    Patricia Donahue, the court ordered defendant detained pending trial

22    on the basis that he poses both a significant risk of flight and a

23    danger to the community. (Ex. A (“Hrg. Tr.”) at 36–37.) With respect

24    to risk of nonappearance, the court made clear that it had “given

25    great consideration to the significant bond proposed by the defense,”

26    but observed that despite his family’s “amply evidenced” financial

27    support, defendant still “felt the need to obtain frequent payments

28    over a course of an extensive period[.]” (Id. at 37.) Even if
     Case 2:23-cr-00372-RGK   Document 45   Filed 09/22/23   Page 4 of 51 Page ID #:222



 1    defendant thought he was communicating with a stock investor, the

 2    court found defendant’s conduct nonetheless clearly violated the

 3    “oath he took as an officer.” (Id.) Defendant’s “cavalier disregard”

 4    for that oath gave the court little confidence that defendant would

 5    abide by any conditions of release, even those secured by a

 6    significant bond package. (Id. at 37–38.)

 7          The court also found that that defendant poses a danger to the

 8    community. (Id. at 38.) The court explained that even if defendant

 9    did not know he was “surreptitiously and continuously transmitting”

10    this information to someone employed by the People’s Republic of

11    China (“PRC”), the allegations suggested that defendant was

12    “nonetheless clearly willing” to violate his oath to the USN and send

13    non-public information that was “clearly labeled as not to be

14    disseminated to the public.” (Id.) The court noted that such conduct

15    from a member of the military “endangers the national security” of
16    the U.S. (Id.)
17    III. DEFENDANT SHOULD REMAIN DETAINED PENDING TRIAL
18          On appeal of a magistrate court’s detention ruling, a district
19    court “review[s] the evidence before the magistrate” and determines

20    “whether the magistrate’s findings are correct.” United States v.

21    Koenig, 912 F.2d 1190, 1192–93 (9th Cir. 1990). Although the district

22    court must make its “own independent determination,” it is ”not

23    required to start over . . . and proceed as if the magistrate’s

24    decision and findings did not exist[.]” (Id.) Here, Judge Donahue’s

25    order should remain in place because all four of the relevant factors

26    under 18 U.S.C. § 3142(g) reflect that no combination of conditions

27    will reasonably assure defendant’s appearance at trial or, more

28    importantly, the safety of the community. See 18 U.S.C. § 3142(e).

                                               2
     Case 2:23-cr-00372-RGK   Document 45   Filed 09/22/23   Page 5 of 51 Page ID #:223



 1          First, the nature and circumstances of the offense charged weigh

 2    in favor of detention. For nearly two years, defendant maintained an

 3    active relationship with an IO from the PRC. Throughout the duration

 4    of that relationship, defendant was an active duty servicemember who

 5    received repeated and regular trainings on detecting and reporting

 6    suspicious foreign contacts and the proper handling of controlled

 7    information. Nevertheless, defendant consistently provided national

 8    security information –- information that was marked controlled and

 9    that defendant surreptitiously collected –- for “easy money.” (Ex. B

10    (“Intvw. Tr.”) at 96, 121.) In short, defendant’s recklessness,

11    ongoing relationship with the IO, and willingness to betray his

12    country in exchange for a modest personal profit suffices as clear

13    and convincing evidence that defendant poses a danger to the national

14    security of the United States if released.

15          The Court cannot reasonably assure that stringent bond

16    conditions will prevent that danger. As defendant himself

17    acknowledges, his coconspirator is an agent of a “sophisticated,

18    international, government-sponsored espionage operation.” (Mot. at

19    4.) Defendant communicated with that individual surreptitiously,

20    using encrypted internet-based methods. (Ind. ¶ 17.) In other words,

21    Pretrial Services does not have the capabilities to effectively

22    monitor defendant to ensure that he ceases the highly dangerous

23    conduct for which he is charged. And while the government has removed

24    defendant’s access to new materials, it cannot prevent defendant from

25    disclosing sensitive information learned from his service or from

26    using sophisticated, technical means developed to avoid detection.

27          Moreover, defendant’s claim that he is the unwitting “victim” of

28    a sophisticated foreign operative is belied by defendant’s conduct

                                               3
     Case 2:23-cr-00372-RGK   Document 45   Filed 09/22/23   Page 6 of 51 Page ID #:224



 1    and admissions. In his post-arrest, Mirandized statement, defendant

 2    conceded that he had received training on recognizing suspicious

 3    contacts from people overseas. (Intvw. Tr. at 62-63, 99.) Defendant

 4    further admitted that he knew the IO lived in China and that, even

 5    early in the relationship, defendant found the IO’s conduct to be

 6    “fishy.” (Id. at 17, 87, 96-97, 102, 122.) And when the IO asked him

 7    for classified information, defendant admitted that he thought he

 8    would look like a “spy” if he sent it. (Id. at 103.) Despite all

 9    this, defendant did not report the IO or cease communication. Rather,

10    as defendant stated: “I mean, he’s paying me so I was like, okay,

11    I’ll just do whatever he says.” (Id. at 32.) In other words,

12    defendant remained willfully blind to the dangerousness of his own
13    conduct. Whether or not he knew he was communicating with an IO,
14    defendant knowingly violated his official duties by disclosing
15    controlled information to a person he knew was not authorized to
16    receive it. In short, defendant’s claim that he was unknowingly
17    victimized is specious and is further demonstrative of why the Court
18    cannot trust defendant’s word that he no longer poses a danger and
19    will appear as required.

20          Second, the weight of the evidence weighs in favor of detention.

21    As outlined in the indictment, the government identified many

22    documents defendant passed to the IO in violation of his official

23    duties and defendant admitted to his conduct in a Mirandized

24    statement. Given that the evidence here is strong and a criminal

25    conviction and prison sentence are likely, defendant has a strong

26    incentive not to appear.

27          Third, although defendant has no significant criminal history,

28    his personal characteristics make him unsuitable for pretrial release

                                               4
     Case 2:23-cr-00372-RGK   Document 45   Filed 09/22/23   Page 7 of 51 Page ID #:225



 1    because defendant has the means, incentive, and reckless disposition

 2    to flee. Defendant has significant contacts in the PRC. In addition

 3    to the IO, defendant has family members living in China, including a

 4    family member whose identity he impersonated to receive the bribe

 5    payments from the IO. (Id. at 126-27.) At one of the two homes

 6    defendant is offering as part of his bond package, his parents rent

 7    out space to friends from their village in the PRC. (Hrg. Tr. at 5.)

 8    When defendant was arrested, he had $20,000 in cash and had recently

 9    searched for one-way flights to Taipei for August 7, 2023. (August 3,

10    2023 USPO Report at 4-5.) Defendant researched that flight after

11    suspecting that law enforcement had searched his phone. (Intv. Tr. at

12    103-04.) And according to the USN, defendant and his wife had

13    requested leave, beginning on August 8, 2023, to travel to Wisconsin,

14    not overseas. (USPO Report at 4-5.) Whether defendant actually

15    purchased a flight to Wisconsin or the money came from family

16    members, defendant has easy access to cash and the means to flee.

17    Taken in tandem, these facts demonstrate by a preponderance of

18    evidence that defendant is at risk of not appearing and that if he

19    flees, he is unlikely to come back. Moreover, pretrial release

20    depends on the Court putting its trust in defendant and in defendant

21    taking seriously that trust. As Judge Donahue observed, defendant

22    adopted a “cavalier” attitude towards his military oath, trading on

23    it for just a few thousand dollars. Thus, defendant’s characteristics

24    weigh in favor of detention.

25          Finally, it is difficult to overstate the seriousness of the

26    danger it would pose if defendant continued anything approximating

27    the conduct for which he is charged. Therefore, defendant’s motion

28    should be denied, and he should remain detained pending trial.

                                               5
     Case 2:23-cr-00372-RGK     Document 45   Filed 09/22/23   Page 8 of 51 Page ID #:226



 1                            DECLARATION OF KATHRYNNE N. SEIDEN

 2            I, Kathrynne N. Seiden, declare as follows:

 3            1.   I am an Assistant United States Attorney in the United

 4    States Attorney’s Office for the Central District of California. I am

 5    one of the attorneys assigned to represent the government in this

 6    case.

 7            2.   On August 8, 2023, the Honorable Patricia Donahue held a

 8    detention hearing in this case. (Dkts. 14-15.) Attached as Exhibit A

 9    is a transcript of the detention hearing. (Dkt. 30.)

10            3.   On August 2, 2023, law enforcement officers interviewed

11    Wenheng Zhao, the defendant in this case. Attached as Exhibit B is a

12    draft transcript of the interview.

13            I declare under penalty of perjury under the laws of the United

14    States of America that the foregoing is true and correct and that

15    this declaration is executed at Los Angeles, California, on September

16    22, 2023.

17                                                 /s/ Kathrynne N. Seiden
                                                   Kathrynne N. Seiden
18

19

20

21

22

23

24

25

26

27

28
Case 2:23-cr-00372-RGK   Document 45   Filed 09/22/23   Page 9 of 51 Page ID #:227




                              Exhibit A
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 10 of 51 Page ID
                                   #:228
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 11 of 51 Page ID
                                   #:229
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 12 of 51 Page ID
                                   #:230
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 13 of 51 Page ID
                                   #:231
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 14 of 51 Page ID
                                   #:232
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 15 of 51 Page ID
                                   #:233
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 16 of 51 Page ID
                                   #:234
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 17 of 51 Page ID
                                   #:235
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 18 of 51 Page ID
                                   #:236
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 19 of 51 Page ID
                                   #:237
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 20 of 51 Page ID
                                   #:238
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 21 of 51 Page ID
                                   #:239
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 22 of 51 Page ID
                                   #:240
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 23 of 51 Page ID
                                   #:241
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 24 of 51 Page ID
                                   #:242
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 25 of 51 Page ID
                                   #:243
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 26 of 51 Page ID
                                   #:244
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 27 of 51 Page ID
                                   #:245
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 28 of 51 Page ID
                                   #:246
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 29 of 51 Page ID
                                   #:247
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 30 of 51 Page ID
                                   #:248
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 31 of 51 Page ID
                                   #:249
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 32 of 51 Page ID
                                   #:250
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 33 of 51 Page ID
                                   #:251
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 34 of 51 Page ID
                                   #:252
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 35 of 51 Page ID
                                   #:253
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 36 of 51 Page ID
                                   #:254
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 37 of 51 Page ID
                                   #:255
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 38 of 51 Page ID
                                   #:256
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 39 of 51 Page ID
                                   #:257
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 40 of 51 Page ID
                                   #:258
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 41 of 51 Page ID
                                   #:259
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 42 of 51 Page ID
                                   #:260
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 43 of 51 Page ID
                                   #:261
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 44 of 51 Page ID
                                   #:262
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 45 of 51 Page ID
                                   #:263
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 46 of 51 Page ID
                                   #:264
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 47 of 51 Page ID
                                   #:265
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 48 of 51 Page ID
                                   #:266
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 49 of 51 Page ID
                                   #:267
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 50 of 51 Page ID
                                   #:268




                            Exhibit B
Case 2:23-cr-00372-RGK   Document 45 Filed 09/22/23   Page 51 of 51 Page ID
                                   #:269
